             Case 2:12-cr-00375-TLN Document 267 Filed 09/29/16 Page 1 of 2


     Timothy E. Warriner (SB#166128)
1    Attorney at Law
     331 J St., Suite 200
2    Sacramento, CA 95814
     (916) 443-7141
3
     Attorney for defendant,
4    Michael Ray Taylor, Jr.
5
                           UNITED STATES DISTRICT COURT
6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                             ) Case No. 2:12-cr-0375-TLN
     UNITED STATES OF AMERICA,                )
9                                             ) STIPULATION AND ORDER FOR
                  Plaintiff,                  ) CONTINUANCE OF JUDGMENT
10                                            ) AND SENTENCING DATE
           vs.                                )
11                                            )
     MICHAEL RAY TAYLOR, JR,                  )
12                                            )
                  Defendant.                  )
13

14         The parties, after consultation with the United States Probation Officer
15
     assigned to this matter, hereby stipulate that the sentencing hearing be continued to
16
     January 19, 2017, and adopt the following schedule concerning the PSR:
17

18   Judgment and Sentencing Date                  January 19, 2017 at 9:30 a.m.
19
     Draft Pre-Sentence Report Disclosed to        November 17, 2016
20   Counsel no Later Than:
     Counsel’s Written Objections to the           December 1, 2016
21
     Presentence Report Shall be Delivered
22   to the Probation Officer and Opposing
     Counsel no Later than:
23
     The Pre-Sentence Report Shall be Filed        December 8, 2016
24   with the Court and Disclosed to
     Counsel no Later Than:
25
     Motion for Correction of the                  December 15, 2016
26   Presentence Report Shall be Filed with
                                               1
             Case 2:12-cr-00375-TLN Document 267 Filed 09/29/16 Page 2 of 2



1
      the Court and Served on the Probation
      Officer and Opposing Counsel no Later
2     Than:
3
      Reply, or Statement of Non-Opposition December 22, 2016

4

5
     DATED: September 27, 2016                      /s/ Timothy E. Warriner, Attorney for
                                                    Defendant, Michael Taylor, Jr.
6

7
     DATED: September 27, 2016                      /s/ Jared C. Dolan, Assistant
8                                                   U.S.Attorney
9
                                         ORDER
10
           GOOD CAUSE APPEARING, the court continues the judgment and
11

12   sentencing hearing to January 19, 2017 at 9:30 a.m., and adopts the foregoing
13
     schedule for filing objections to the draft report.
14
     DATED: September 28, 2016
15

16
                                                           Troy L. Nunley
17                                                         United States District Judge

18

19

20

21

22

23

24

25

26

                                                2
